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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

                                           §
    CYWEE GROUP LTD.,                      §
                                           §                    No. 2:17-cv-00495-WCB-RSP
                Plaintiff,                 §
                                           §
    vs.                                    §
                                           §
    HUAWEI DEVICE CO. LTD.,                §
                                                                      Jury Trial Requested
    HUAWEI DEVICE (DONGGUAN) CO.           §
    LTD., AND HUAWEI DEVICE                §
    USA, INC.,                             §
                                           §
                Defendants.                §
    ______________________________________ §



      DECLARATION OF BENJAMIN M. KLEINMAN IN SUPPORT OF HUAWEI’S
     OPPOSITION TO CYWEE’S EMERGENCY MOTION FOR PROTECTIVE ORDER
                RE DEPOSITION OF JOSEPH J. LAVIOLA, JR, PH.D.



          I, Benjamin M. Kleinman, declare as follows:

          1.      I am an attorney at Kilpatrick Townsend & Stockton LLP and counsel of record

   for Defendants Huawei Device Co. Ltd., Huawei Device (Dongguan) Co. Ltd., and Huawei

   Device USA, Inc. (collectively, “Huawei”) in the above-captioned matter. I am over the age of

   21, and competent to make this declaration. All the statements set forth herein are true and

   correct and are based upon my personal knowledge or a reasonable investigation sufficient to

   reach the conclusions presented.

          2.      I understand that Samsung has deposed CyWee’s claim construction expert, Dr.

   LaViola, in CyWee Group Ltd. v. Samsung Electronics Co., Ltd. et al., No. 2:17-cv-00140 (E.D.

   Tex.) (“the Samsung case”). Huawei did not participate in, attend, or help plan for Samsung’s
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   (or anyone else’s) deposition of Dr. LaViola. Huawei has not received a copy of the transcript of

   that deposition of Dr. LaViola. CyWee does not even purport to have produced to Huawei a

   transcript or video of any deposition by Samsung of Dr. LaViola.

          3.      Starting on or about the beginning of June 2018, Huawei and CyWee engaged in

   telephonic and electronic communication to resolve a dispute about the timing of expert claim

   construction declarations, depositions of those experts, and claim construction briefing. A true

   and correct copy of a portion of that electronic communication is attached as Exhibit 1. The

   parties resolved the dispute by agreeing, inter alia, that each party could: submit two briefs,

   include an expert declaration with each brief, and depose the other side’s expert before

   submitting its second brief. This agreement was reflected in the joint stipulation filed with the

   Court as Docket No. 70. At no point during these discussions did CyWee suggest any limitations

   on the scope or form of Dr. LaViola’s deposition, even though CyWee knew it was using him as

   its expert in both this case and in the Samsung case.

          4.      CyWee never formally noticed the claim construction deposition of Huawei’s

   expert, Dr. Welch. Huawei nonetheless offered to make Dr. Welch available on Tuesday,

   August 28, at CyWee’s request. Dr. Welch lives in Florida and flew to San Francisco from there

   for the deposition. Texas-based counsel for CyWee informed me that he also flew to San

   Francisco to take the deposition and that he had booked his return flight for early in the evening

   of August 28. At the request of that counsel, and presumably to accommodate his flight

   schedule, Huawei made Dr. Welch available at 8:00 a.m. instead of the usual 9:00 a.m.

          5.      On the morning of August 28, Dr. Welch and counsel for Huawei presented

   themselves for the deposition at 7:45 a.m., but CyWee had failed to secure a court reporter or

   videographer. After more than an hour had passed, CyWee requested Huawei’s assistance in
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   obtaining a reporter and Huawei agreed, reaching out to local contacts to try and secure a court

   reporter. This is reflected in Exhibit 2, a true and correct copy of correspondence between

   counsel for Huawei and the counsel for CyWee who had arrived in San Francisco to take the

   deposition.

          6.      Just after 9:00 a.m. (California time), Huawei informed CyWee that Dr. Welch

   could not continue past 5:00 p.m. that evening (more than enough time for a 7 hour deposition if

   that deposition had started as scheduled, at 8:00 a.m.). This is reflected in Exhibit 2. At no point

   did Huawei threaten to deny CyWee the opportunity for a full and fair deposition of Dr. Welch.

   Despite this, 5 minutes after CyWee’s deposing counsel cordially acknowledged that email at

   9:07 a.m. and informed Huawei that a reporter had been procured and was on the way, lead

   counsel for CyWee accused Huawei of trying to avoid the deposition and insisted that “CyWee

   will take Professor Welch’s deposition for the 7 hours allowed by the rules, if necessary.” A true

   and correct copy of that correspondence is attached as Exhibit 3.

          7.      CyWee’s deposition of Dr. Welch finally began on or about 10:20 a.m. and

   concluded on or about 4:34 p.m.

          8.      On August 20, I had asked CyWee for Dr. LaViola’s availability for deposition.

   Receiving no reply, I asked again on August 23. A few minutes later, one of CyWee’s attorneys

   replied, saying “[w]e don’t have dates yet, and hope to propose dates next week.” A true and

   correct copy of this correspondence at attached as Exhibit 4.

          9.      Shortly after I received that reply from CyWee’s attorney, that attorney’s partner,

   lead counsel for CyWee, replied with a comment possibly directed at his partner, saying “[w]e

   are not producing Dr. LaViola…” This is reflected in Exhibit 4. Lead counsel for CyWee then

   addressed me, asserting that Dr. LaViola “has been deposed repeatedly.” I replied the next day,
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   August 24, reminding CyWee of its obligations under the agreements discussed above. At that

   time, Huawei also served CyWee with a formal deposition notice for Dr. LaViola. Counsel for

   CyWee then agreed to make Dr. LaViola available but only subject to restrictions similar to

   those it now requests in its Motion for Protective Order. On August 28, I informed CyWee that

   Huawei did not agree to those restrictions. CyWee responded by requesting a meet and confer so

   that it could seek a protective order. A true and correct copy of that correspondence is attached

   as Exhibit 5.

          10.      The parties met and conferred regarding the dispute on August 29, 2018. They

   remained at an impasse.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct. Executed this 4th day of September 2018 at San Francisco,

   California.



                                                BENJAMIN M. KLEINMAN




                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that all counsel of record who are deemed to have

   consented to electronic service are being served with a copy of this document via the Court’s

   CM/ECF system per Local Rule CV-5(a)(3) on September 4, 2018.


                                                        /s/ Steven D. Moore
                                                        Steven D. Moore
